 1                                                      The Honorable Christopher M. Alston
                                                        Chapter 7
 2                                                      Hearing Date: September 26, 2018
                                                        Hearing Time: 9:30 a.m.
 3                                                      Hearing Location: 700 Stewart St, Seattle, WA
                                                               7th Floor, Courtroom 7206
 4

 5

 6

 7

 8                          UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 9

10   In re                                             Case No. 15-16110-CMA
11   BRUCE BORJESSON,                                  TRUSTEE’S REPLY BRIEF FOR
                                                       VALUATION HEARING RE PARCEL B
12           Debtor.                                   AND ADDITIONAL BRIEFING OF
                                                       HOMESTEAD ISSUE RE PARCEL B
13

14

15   I.      INTRODUCTION
16                  Edmund J. Wood, chapter 7 trustee (“Trustee”) for Bruce Borjesson, the debtor in

17   this case (“Debtor” or “Borjesson”), files his reply brief (the “Trustee’s Reply”) to the Debtor’s

18   Brief Re: Valuation of “Parcel B” and Homestead Exemption [Dkt. # 148] (the “Debtor’s Brief”)

19   for the evidentiary hearing regarding the valuation of Parcel B scheduled for September 26,

20   2018. The Trustee agrees that Borjesson has claimed a homestead as to Parcel A and B in his

21   amended schedules, even though his recorded homestead claim does not clearly do so. But since

22   Parcel A is encumbered by liens greater than its value, the homestead claim is capped at the

23   value of Parcel B, less any liens that impair the homestead. The Debtor offers three valuation

24   theories to argue that the assessed value of Parcel B, $2,000, should be disregarded. But each of

25   the three theories is based on the flawed assumption that Parcel A, which is a buildable lot, and

26   Parcel B, which is not, have the same value per square foot. The value of Parcel B is nominal.




     TRUSTEE’S REPLY BRIEF … - 1                                                   GROSHONG LAW PLLC
                                                                                          T: 206.508.0585
                                                                                  600 STEWART STREET, SUITE 1300
                                                                                   SEATTLE, WASHINGTON 98101


      Case 15-16110-CMA         Doc 153      Filed 09/21/18     Ent. 09/21/18 12:56:58         Pg. 1 of 6
 1   II.    RELEVANT FACTS
 2                  The Trustee agrees that the Debtor’s amended schedule C claims a homestead

 3   exemption which does not distinguish between Parcel A and Parcel B. But the Trustee disputes

 4   the Debtor’s assertion that “[b]oth parcels have historically been used as one and have had the

 5   same owners for decades.” Debtor’s Brief, 2:6-7. The Trustee will present evidence that title to

 6   Parcel B is currently vested in Rodney and Barbara Loveless. See Trustee’s Proposed Exhibits

 7   T-13 and T-14. The proposed purchaser is taking possession without title insurance as to

 8   Parcel B. The Debtor’s Brief states that “Parcel B consists of a yard, which has been converted

 9   to an outdoor workshop area - its APN is 394190-0085.” Debtor’s Brief, 2:2-3. The Debtor also

10   asserts that the outbuildings on Parcel B add value. Debtor’s Brief, 8:10-13. The Debtor will not

11   be able to establish that assertion by evidence. The Debtor further asserts that “Parcel A and

12   Parcel B share “custody” of an outdoor workshop that extends from the back of the house onto

13   Parcel B.” Debtor’s Brief, 3:18-19. This assertion raises possible adverse possession issues that

14   could impact the already nominal value of Parcel B.

15   III.   HOMESTEAD
16                  Subject to chain of title issues, the Trustee does not dispute the Debtor’s right to

17   claim a homestead exemption in Parcel B, although, as discussed below, the amount of the

18   homestead is limited to the value of Parcel B, less existing tax liens.

19   IV.    VALUATION OF PARCEL B
20          A.      Moorhead valuation
21                  The Declaration of George Moorhead Re: Valuation of “Parcel B” [Dkt. # 148-1,

22   at 37-59] (the “Moorhead BPO”) assumes that Parcel B’s value per square foot is the same as

23   that of Parcel A, as set forth in the second to last paragraph of the BPO: “If the mean price of a

24   home in this area, with the access and actual building pad is around $600,000, then the lot costs

25   would be 35% or $210,000.” Moorhead BPO, pg. 42. But if the lot is not buildable, the basis for

26   Moorhead’s evaluation disappears. The Moorhead BPO is based, implicitly and explicitly, on




     TRUSTEE’S REPLY BRIEF … - 2                                                    GROSHONG LAW PLLC
                                                                                           T: 206.508.0585
                                                                                   600 STEWART STREET, SUITE 1300
                                                                                    SEATTLE, WASHINGTON 98101


      Case 15-16110-CMA          Doc 153     Filed 09/21/18      Ent. 09/21/18 12:56:58         Pg. 2 of 6
 1   the value of a buildable lot. “Parcel B is considered a legal lot with the potential of having a
 2   residential home placed upon it, or in its current use.” Moorhead BPO, at 41.
 3                     The Trustee will present evidence at the evidentiary hearing that will establish
 4   Parcel B is not a buildable lot, so the Moorhead BPO does not provide a sustainable basis for
 5   valuing Parcel B. See Trustee’s Proposed Exhibit T-7.
 6            B.       Valuation by Rich Kim
 7                     The Debtor complains that “[t]hus far, the Trustee has asserted no breakdown as
 8   to how his realtor, Rich Kim, determined the value of Parcel B.” Mr. Kim will testify as to his
 9   valuation at the evidentiary hearing. The Debtor’s Brief criticizes Mr. Kim’s actions in
10   connection with the listing. Mr. Kim will testify to his efforts in listing the Property and the
11   other matters identified by the Trustee in his Trial Brief for Valuation Hearing Re Parcel B and
12   Additional Briefing of Homestead Issue Re Parcel B [Dkt. # 147] (the “Trustee’s Brief”) 3:9-19].
13   The Trustee’s Reply is not the appropriate place for Mr. Kim to testify, although Mr. Kim’s
14   testimony will be that the value of Parcel B is nominal and that is consistent with his earlier
15   declarations. The court will judge for itself the testimony and exhibits.
16                     The Debtor’s Brief asserts that a nominal value “is not consistent with land values
17   in the Greenwood neighborhood overall, nor is it consistent with the calculation of the price in
18   the listing agreement[.]” Debtor’s Brief, 6:10-12. The Trustee believes this is only an assertion
19   and is not supported by any evidence. Parcel B is not a buildable lot, and the Debtor’s attempt to
20   argue for a kind of consistency with general land values in the Greenwood neighborhood with
21   buildable lots is speculative at best. And Mr. Kim’s valuation testimony will be consistent with
22   the listing agreement. Approval of the sale to the Buyer would result in a commission for Mr.
23   Kim,1 and he has worked hard on this short sale. It is correct that three title companies declined
24   to insure title to Parcel B in connection with the sale, though that fact only adds support for a
25
     1
      However, Mr. Kim was employed as the Trustee’s realtor pursuant to 11 U.S.C. §§ 327 and 330, and his
26   commission remains subject to court approval, on notice to creditors and the opportunity for a hearing. Dkt. # 97.




     TRUSTEE’S REPLY BRIEF … - 3                                                                 GROSHONG LAW PLLC
                                                                                                        T: 206.508.0585
                                                                                                600 STEWART STREET, SUITE 1300
                                                                                                 SEATTLE, WASHINGTON 98101


         Case 15-16110-CMA           Doc 153        Filed 09/21/18        Ent. 09/21/18 12:56:58             Pg. 3 of 6
 1   nominal valuation for Parcel B, because at the very least it appears that a quiet title action will be
 2   necessary for Parcel B. The Buyer is aware that title to Parcel B is clouded, and is willing to take
 3   possession without title insurance.
 4                  The Trustee will establish that Mr. Kim is an expert as to the valuation of Parcel
 5   B, within the contemplation of Fed. R. Evid. 702.
 6          C.      Valuation based on price per square foot
 7                  The Debtor “extrapolates the value of Parcel B based on the price per square foot
 8   relative to the total square footage of both parcels.” Debtor’s Brief, 6:21-22. This argument is
 9   simply a reworking of the Moorhead BPO, and it fails because Parcel A and Parcel B are
10   separate parcels, each with its own value. Parcel A is buildable and Parcel B is not. Parcel A
11   can be sold as a separate residential lot and Parcel B cannot. This attempted valuation method is
12   unwarranted.
13          D.      Valuation based on tax assessment
14                  1.      The assessed value of Parcel B is $2,000.
15                  The Debtor attempts to overcome King County’s $2,000 assessed value of
16   Parcel B by arguing that approximately 27 years ago, in 1991, the Assessor wanted to assess a
17   value of $25,600. “The value was $1,400 in 1990, but the Assessor appealed and wanted to
18   assess a value of $25,600 starting in 1991 (they settled at $2,600 with Parcel A bearing the bulk
19   of the tax responsibility for both parcels[.])” Debtor’s Brief, 8:4-7. This is a problematic
20   analysis for a number of reasons, including that King County’s 1991 appeal of the assessment
21   value failed, and it is so old that it is not relevant under Fed. R. Evid. 401(a) or (b). Further, the
22   Trustee will present evidence that in 1990, the assessed value of Parcel B was $1,400, and in
23   1991, its assessed value was $2,600, precisely as discussed in the Debtor’s Brief and quoted
24   above. See Trustee’s Proposed Exhibit T-8. The Debtor’s attempt to value Parcel B by first,
25   adjusting for inflation and, second, using the amount of the failed assessment as a basis for the
26   adjustment, is specious. Debtor’s Brief, 8:8-10.



     TRUSTEE’S REPLY BRIEF … - 4                                                      GROSHONG LAW PLLC
                                                                                             T: 206.508.0585
                                                                                     600 STEWART STREET, SUITE 1300
                                                                                      SEATTLE, WASHINGTON 98101


      Case 15-16110-CMA          Doc 153      Filed 09/21/18      Ent. 09/21/18 12:56:58          Pg. 4 of 6
 1                  RCW 84.40.030 provides in part that:
 2          All property must be valued at one hundred percent of its true and fair value in
            money and assessed on the same basis unless specifically provided otherwise by
 3          law.
 4   RCW 84.40.030(1). The current assessed value of Parcel B is $2,000, and has been for the past
 5   several years. The Trustee will present evidence that its assessed value has never exceeded
 6   $5,000. See Trustee’s Proposed Exhibit T-8.
 7                  RCW 84.40.030(3) lists the specific criteria for arriving at a true and fair value or
 8   real property for taxation purposes. The legislature has established a presumption concerning
 9   assessed value for use in challenges brought by a property owner as to valuation:
10          Upon review by any court, or appellate body, of a determination of the valuation
            of property for purposes of taxation, it shall be presumed that the determination of
11          the public official charged with the duty of establishing such value is correct but
            this presumption shall not be a defense against any correction indicated by clear,
12          cogent and convincing evidence.
13   RCW 84.40.0301. This statute is cited to show the weight the Washington state legislature gives
14   to tax assessments for purposes of disputes with a property owner. The Trustee does not suggest
15   that it dictates the burden of proof here, but the King County Assessor’s valuation is entitled to
16   some weight.
17                  2.      There are existing liens against Parcel B.
18                  The Debtor asserts there are no liens against Parcel B. Debtor’s Brief, 10:1.
19   While to the best of the Trustee’s knowledge there are no loan repayment obligations secured by
20   Parcel B, there are delinquent King County tax liens. These tax liens are not subject to a
21   homestead under RCW 6.13.070, because they are not “debts of the owner.” Washington AGO
22   1996 No. 6. The Trustee will provide evidence that Parcel B is currently subject to or in
23   foreclosure by King County. See Trustee’s Proposed Exhibit T-9.
24   ///
25   ///
26   ///



     TRUSTEE’S REPLY BRIEF … - 5                                                    GROSHONG LAW PLLC
                                                                                           T: 206.508.0585
                                                                                   600 STEWART STREET, SUITE 1300
                                                                                    SEATTLE, WASHINGTON 98101


      Case 15-16110-CMA          Doc 153     Filed 09/21/18     Ent. 09/21/18 12:56:58          Pg. 5 of 6
 1   V.     CONCLUSION
 2                  The Trustee agrees with the Debtor that the Debtor has a homestead claim as to

 3   Parcel B. The Trustee believes that the value of that homestead is limited to the value of

 4   Parcel B, less unpaid tax assessments.

 5                  The court should enter an order determining that the value of the homestead is

 6   $2,000, as assessed by King County, and that the homestead is impaired by unpaid Washington

 7   real property taxes.

 8                  DATED this 20th day of September, 2018.
 9                                                  GROSHONG LAW PLLC
10
                                                    /s/ Geoffrey Groshong
11                                                  Geoffrey Groshong
                                                    WSB No. 6124
12
                                                          Attorneys for Chapter 7 Trustee
13                                                        Edmund J. Wood
14

15

16

17

18

19

20

21

22

23

24

25

26




     TRUSTEE’S REPLY BRIEF … - 6                                                  GROSHONG LAW PLLC
                                                                                         T: 206.508.0585
                                                                                 600 STEWART STREET, SUITE 1300
                                                                                  SEATTLE, WASHINGTON 98101


      Case 15-16110-CMA         Doc 153       Filed 09/21/18   Ent. 09/21/18 12:56:58         Pg. 6 of 6
